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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:05-CR-163
v.
                                                        HON. ROBERT HOLMES BELL
TIMOTHY ISADORE MINOR, II,

              Defendant.
                                      /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1233). Based on a review of

defendant’s motion, the Sentence Modification Report, submission by counsel for both

parties, and the original criminal file, the Court has determined that the motion should be

denied for the following reason(s):

       Defendant was sentenced on May 15, 2007 to 150 months custody and 5 years

supervised release following his conviction for Conspiracy to Distribute and to Possess with

Intent to Distribute 50 Grams or More of Cocaine Base, 5 Kilograms or More of Cocaine,

1 Kilogram or More of Heroin, and 100 Kilogram or More of Marijuana contrary to 21

U.S.C. §§846 and 841(a)(1), (b)(1)(A)(I) & (b)(1)(B)(vii). On November 10, 2012, the Court

reduced defendant’s term of custody to 132 months due to the retroactive application of
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Amendments 706 and 711 to the United States Sentencing Guidelines. The Sentence

Modification Report prepared by the United States Probation Office calculated defendant’s

guideline range at that time to be 168 to 210 months based on a total offense level of 33 and

a criminal history category III.

       The Sentence Modification Report prepared as a result of defendant’s Amendment

750 motion states that defendant’s total offense level, criminal history category, and

guideline range remain unchanged from the last sentence modification.

       Since Amendment 750 does not result in a lower guideline range, defendant is not

eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10(a)(2)(B).

       ACCORDINGLY, defendant’s motion (docket #) is DENIED.




Date: July 16, 2012                       /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
